                                                   Clear Form
DOCUMENTS UNDERCase 5:15-cr-00226-EJD Document
                 SEAL                                            89 Filed 12/01/15
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M AGISTRATE JUDGE               DEPUTY CLERK                                       REPORTER/FTR
M INUTE ORDER                  Lili M. Harrell                                  FTR: 1:49pm - 1:54pm
MAGISTRATE JUDGE                DATE                                               NEW CASE       CASE NUMBER
Nathanael Cousins                       December 1, 2015                                         15-cr-00226 EJD
                                                    APPEARANCES
DEFENDANT                               AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                  PD.     RET.
Douglas York                                      Y        P       Graham Archer                       APPT.
U.S. ATTORNEY                           INTERPRETER                            FIN. AFFT             COUNSEL APPT'D
Brianna Penna                                                                  SUBMITTED

PROBATION OFFICER          PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR          PARTIAL PAYMENT
                           Anthony Granados                         APPT'D COUNSEL            OF CJA FEES
                                      PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR            PRELIM HRG       MOTION           JUGM'T & SENTG                        STATUS
                                                                                                         TRIAL SET
       I.D. COUNSEL              ARRAIGNMENT             BOND HEARING           IA REV PROB. or          OTHER
                                                                                or S/R
       DETENTION HRG             ID / REMOV HRG          CHANGE PLEA            PROB. REVOC.             ATTY APPT
                                                                                                         HEARING
                                                   INITIAL APPEARANCE
        ADVISED               ADVISED                   NAME AS CHARGED             TRUE NAME:
        OF RIGHTS             OF CHARGES                IS TRUE NAME
                                                      ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON              READING W AIVED            W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                SUBSTANCE
                                                       RELEASE
      RELEASED          ISSUED                     AMT OF SECURITY         SPECIAL NOTES             PASSPORT
      ON O/R            APPEARANCE BOND            $                                                 SURRENDERED
                                                                                                     DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                    REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                DETAINED          RELEASED      DETENTION HEARING           REMANDED
      FOR             SERVICES                                                AND FORMAL FINDINGS         TO CUSTODY
      DETENTION       REPORT                                                  W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                           PLEA
   CONSENT                   NOT GUILTY                   GUILTY                   GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE               CHANGE OF PLEA               PLEA AGREEMENT           OTHER:
   REPORT ORDERED                                         FILED
                                                      CONTINUANCE
TO:                              ATTY APPT               BOND                  STATUS RE:
12/8/2015                        HEARING                 HEARING               CONSENT                 TRIAL SET

AT:                              SUBMIT FINAN.            PRELIMINARY          CHANGE OF               STATUS
                                 AFFIDAVIT                HEARING              PLEA
1:30pm                                                    _____________
BEFORE HON.                      DETENTION                ARRAIGNMENT           MOTIONS                JUDGMENT &
                                 HEARING re                                                            SENTENCING
Cousins                   Pretrial violation
       TIME W AIVED              TIME EXCLUDABLE          IDENTITY /           PRETRIAL                PROB/SUP REV.
                                 UNDER 18 § USC           REMOVAL              CONFERENCE              HEARING
                                 3161                     HEARING
                                               ADDITIONAL PROCEEDINGS




                                                                                     DOCUMENT NUMBER:
